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     Venkat Guntipally, Movant
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     BOP Prison Reg. No. 20028-111                                                       Aot^ ^
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                            IN THE UNITED STATES DISTRICT COURT

                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

      UNITED STATES OF AMERICA,

                            Respondent,

                    V.                             Cv. Case No: 5:19-cv-00098-LHK



      VENKAT GUNTIPALLY,

                             Movant.



        PETITIONER'S MOTION TO TAKE LEAVE for EXPARTE APPLICATION FOR
          COURT ORDER DECLARING PARTIAL WAIVER OF ATTORNEY-CLIENT
         PRIVILEDGE AND COMPELLING DISCLOSURE OF CERTAIN ATTORNEY-
      CLIENT COMMUNICATIONS; MEMORANDUM OF POINTS AND AUTHORITIES;
                            DECLARATION OF VENKAT GUNTIPALLY



            Petitioner, Venkat Guntipally, pro se, hereby files this ex parte application for a court

     order: (1) declaring that Venkat Guntipally ("petitioner") concedesthat he has waived his

     attorney-client privilege with respect to all commimications between his attorney, Peter

     Leeming, concerning the events and facts involved in petitioner's case in United States v. Venkat

     Guntipally (Case No. 16-CR-189-LHK-2); and (2) compelling attorney Peter Leeming to

     disclose to him and the Court all communications with petitioner concerning the events and facts

     involved in his case, which relate to the issues presented in petitioner's Motion to Vacate, Set

     Aside, of Correct Sentence. This application is based upon the attached memorandum of points
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